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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:
                                                                       Chapter 11

    GRACIOUS HOME LLC, et al.,1                                        Case Nos.: 16-13500-13506 (MKV)

                                                                       (Jointly Administered)
                                                           Debtors.


                     ORDER CONVERTING CHAPTER 11 CASES TO CASES
                      UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

             This matter having come before the court upon the motion of the Official Committee of

Unsecured Creditors (the “Committee”) in the cases of the above-captioned debtors and debtors-

in-possession (the “Debtors”) having filed a motion [ECF No. 420] (the “Motion”) to Convert the

Chapter 11 Cases to Cases under Chapter 7 of the Bankruptcy Code; and this Court having

considered the Motion; and it appearing that sufficient notice having been provided [ECF No.

425]; and no objection to the Motion having been filed; and a Certificate of No Objection having

been filed [ECF No. 430]; and the Court having jurisdiction to consider the Motion and relief

requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and a hearing in connection with

the Motion having been held on November 29, 2018, the record of which is incorporated herein;

and the Court having found and determined that the relief sought in the Motion is in the best interest

of the Debtors and their estates; and the legal and factual bases set forth in the Motion having

established just cause for the relief granted herein; and after due deliberation and good cause



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         The Debtors in these chapter 11 cases and the last four digits of their tax identification numbers are: Gracious
Home LLC (6822); Gracious Home Holdings LLC (3251); Gracious Home Payroll LLC (3681); GH East Side LLC
(3251); GH West Side LLC (3251); GH Chelsea LLC (3251) and Gracious (IP) LLC (3251). The latter four entities
are disregarded for tax purposes and do not have their own tax identification numbers, but use that of Gracious Home
Holdings LLC. The address of the Debtors’ corporate headquarters is 1210 Third Avenue, New York, New York
10021.
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appearing therefor,

          IT IS HEREBY ORDERED THAT:

               1.      The relief requested in the Motion is GRANTED to the extent set forth

herein.

               2.      These Chapter 11 Cases be and hereby are converted to cases under Chapter

7 of the Bankruptcy Code pursuant to 11 U.S.C. § 1112(b).

               3.      The Debtor shall file (i) a schedule of unpaid debts incurred after the

commencement of the Chapter 11 case within 14 days of the date of this order, and (ii) a final

report within 30 days of the date of this order, pursuant to Federal Rule of Bankruptcy Procedure

1019(5).

               4.      This Court retains jurisdiction to resolve all matters arising under or related

to this Order, and to interpret, implement, and enforce the provisions of this Order.




Dated: New York, New York
       November 29, 2018                        s/ Mary Kay Vyskocil
                                              Honorable Mary Kay Vyskocil
                                              United States Bankruptcy Judge




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